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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                             NORTHERN DIVISION

SHARPE HOLDINGS, INC., et al.,           )
                                         )
          Plaintiffs,                    )
                                         )
     v.                                  )         No. 2:12 CV 92 DDN
                                         )
UNITED STATES DEPARTMENT OF              )
HEALTH AND HUMAN SERVICES,               )
et al.,                                  )
                                         )
          Defendants.                    )

                           ORDER VACATING HEARING
      IT IS HEREBY ORDERED that the unopposed motion of plaintiffs for the Court
to rule on pending matters without a hearing (Doc. 155) is sustained. The hearing
previously set for Friday, January 26, 2018, is vacated. The pending issues will be
ruled without a hearing.


                                             /s/ David D. Noce      k
                                      UNITED STATES MAGISTRATE JUDGE


Signed on January 26, 2018.
